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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 3, 2020:


        MINUTE entry before the Honorable Jeffrey Cummings: The Court has reviewed
plaintiff's motion to extend deadlines for submitting pre−settlement conference letters
[139] and the parties' correspondence attached thereto [139−1]. Plaintiff&#0;39;s motion
[139] is granted to allow the parties to properly prepare settlement submissions that will
prove beneficial in future settlement negotiations. Plaintiff shall submit a pre−settlement
conference demand letter in conformance with the Court's Standing Order on Settlement
Conferences within fourteen days after Judge Feinerman rules on plaintiff's pending
motion to compel [139]. Defendants shall submit a pre−settlement conference offer letter
within fourteen days after receipt of plaintiff's pre−settlement conference demand letter.
The Court will set a telephonic status hearing to discuss scheduling the settlement
conference at a later date. The 7/16/20 motion hearing before this Court is stricken; no
appearance is necessary on that date. Mailed notice (cc, )




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